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        A 0 199A (Rev. 11195) Order Selling Condi(#onsof Releaie                                                                  Wge I of        Pager




                                Wniteb Ptateri Piritritt


                   UNITED STATES OF AMERICA

                                     v.                                                     ORDER SETTING CONDITIONS
                                                                                                   OF RELEASE




                IT IS ORDERED that the release of the defendant is subject to the following conditions:

                  (1) The defendant shall not commit any offense in violation of federal, state or local law while on release in this
                      case.

                  (2) The defendant shall immediately advise the court, defense counsel and the U.S. attorney in writing before
                      any change in address and telephone number.

                  (3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence

                        imposed as directed. The defendant shall appear at (if blank, lo be notified) COURTROOM

U.S.             COURT. JUDGE
        DISTRICT --------------                                           -- o n _--




                                            Release on Personal Recognizance or Unsecured Bond

                IT IS FURTHER ORDERED that the defendant be released provided that:

       (       ) (4j The defendant promises to appear al all proceedings as required and to surrender for service of any sentence
                       imposed.

       (      ) (5) The defendant executes an unsecured bond binding lhe defendant to pay the United States the sum of


                       in the event of a failure to appear as required or to surrender as directed for service of any sentence imposed.




W H l T E COPY - C O U R T     YELLOW - O E F E N O A N T          B L U E . U.5. A T T O R N E Y   P I N K - US. M A R S H A L   G R E E N . PRETRIALSERVICES
              Case 1:05-cr-00351-LJO Document 26 Filed 11/30/05 Page 2 of 3
BONILLA, Elizabeth       ADDITIONAL CONDITIONS OF RELEASE
05-0351 OWW

           U p o n f i n d i n g t h a t release b y o n e o f t h e a b o v e m e t h o d s w i l l n o t b y itselfreasonably assure t h e a p p e a r a n c e o f t h e d e f e n d a n t
a n d the safety o f other persons a n d t h e community, i t is FURTHER ORDERED t h a t t h e release o f the defendant is subject t o the
eonditions m a r k e d below:

(X)         (6)          T h e defendant is placed in the custody of:

                         N a m e o f person o r organization M a r c e l i n a V i l l a a o n d a


w h o agrees (a) t o supervise the defendant in accordance w i t h a l l conditions o f release,
(b) t o use every effort t o assure the appearance o f the defendant a t a l l scheduled c o u r t proceedings, a n d (c) t o n o t i f y the c o u r t
i m m e d i a t e l y in the event the defendant violates a n y conditions o f release o r disappears.

                         SIGNED:


(XI         (7)         The defendant shall:
            i )         (8)      maintain or actively seek employment, and provide proof thereof to the PSO upon request.
            i )         (b)      maintain or commence an edueational program.
            (X)         (c)      abide bv the followine restrictions on his personal associations, dace o f abode. or travel:
                                 Ke.de 31 a resiJcn:c apnru\ed b\ Pretrial Sen ~ c c ianJ . no1 mu\c or hc dhscnt from this rcs~dcn:~ lllr more than 24 I:rs
                                 rr ~ r h opr10r
                                           ~ t approval oiIISO. lrs\c'l recrrlctzJ 181 (he 1:3slcrn Dlstrict ofCaI~forn~&i    ~~thcru~se.appro\c.i
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                                     C C SKtlmrru,
                                                ~        u n l c r ~.n lh: Drr'ssn2c CII   ;o~nhcl or olh:n\.s: appro%r J .n :~J\:m;e hv lne PqU
                                     report on a regular basis to the followine aeencv:
                                     Pretrial Services and eomplv with their rules and reeulations.
                                     comply with the following curfew:
                                     refrain from ~ossessinea firearm. destructive deviee. or other daneerous weaoon


                                      undergo medical or psychiatrie treatment andlor remain in an institution. as follows: Including trealment for dmeandior
                                      . ~ l c ~ hJepcnJcns\.
                                                 ol            and pa$ ior eojls :I. : ~ p n r x c Jh\ the PSU.
                                     rueculed honJ or 3n agreement lo iorieit upon f ~ ~ l ~ ndppcnr     g t , ~ or filllure w dhJc h) 3n) u l t n e c 3 n J 1 t ~ o~1irc1c3se.
                                                                                                                                                                    n~        Ihr'
                                      following sum o f money or designated property:
                                     post with the eourt the following indicia or ownership of the above-described property, or the following amount or
                                     percentage o f the above-deseribed money:
                                     execute a bail bond with sol\,ent sureties in the amount of $
                                     return to eustody each (week)day as o f o'clock after being released each (week)day as of o'clock for employment,
                                      schooling. or the following limited purposeis):
                                      surrender any passport to the Clerk, United States District Court.
                                      oblain no passport during the pendency o f this case.
                                     reoon in person l o the Pretrial Services Aeencr on the tirst workine dav following vour release from custody
                                      suhmll I,)dmc :,nJ or 3l;t1hc1l trhtlnr: ii J r r a r d 5). I'SU
                                      repon ,an\ pre>:rlptlonr l o PSU n ~ t h l n48 hodn JIre:clnl
                                     participate in oneofthe followinghomeconfinement programcomponentsand abide by all the requirementsof the program
                                     which ( ) will or ( ) will not include electronic monitoring or other location verification system.
                                     ( ) (i) Curfew. You are restricted to your residence every day ( )from                                     to                       , or
                                                     ( ) as directed by the Pretrial Services office or supervising officer: or
                                     ( ) (ii) Home Detention. You are restricted to your residence at all times except for em~losment;           . .            education;
                                                     religious ser\,ices; or mental health treatment; anomey visits; court appearances; eourt-ordered obligalions;
                                                                              . ..
                                                     or other activities a ore-aooroved bv the Pretrial Services office or su~ervisineofticer: or     -
                                     ( ) (iii) Home Incarceration. You arerestrieted to your residence at all times except for medical needs or treatment,
                                                    religious services, and court appearances preapproved by the Pretrial Services offiee or supervision officer.




(Cnples IDDefendant, US Attorney, US Marshal. Pretnd Servnces)
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A 0 199C (Rev. 4/91) Advice of Penalties.. .                                                                           Page

                                                     Advice of Penalties and Sanctions
TO THE DEFENDANT:
     YOU ARE ADVISED O F THE FOLLOWING PENALTIES AND SANCTIONS:
     A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest,
a revocation of release, an order of detention, and a prosecution for contempt of court and could result in a term of imprisonment,
a fine, or both.
     The commission of any crime while on pre-trial release may result in an additional sentence to a term of imprisonment of
not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one year, if the offense is a
misdemeanor. This sentence shall be in addition to any other sentence.
     Federal law makes it a crime punishable by up to five years of imprisonment, and a $250.000 fine or both to intimidate or
attempt to intimidate a witness, victim, juror, informant or officer of the court. or to obstruct a criminal investigation. It is also
a crime punishabIe by up to ten years of imprisonment, a $250,000 fine or both, to tamper with a witness, victim or informant,
or to retaliate against a witness. victim or informant, or to threaten or attempt to do so.
     If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the service of sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
     (I) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you shall be
          fined not more than $250,000 or imprisoned for not more than ten years, or both;
     (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall be fined
          not more than $250.000 or imprisoned for not more than five years, or both;
     (3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;
     (4) a misdemeanor, you shall be fined not more than $100.000 or imprisoned not more than one year, or both.
     A term of imprisonment imposed for failure to appear or surrender shall be in addition to the scntence for any other offense.
In addition, a failure to appear may result in the forfeiture of any bond posted.

                                                     Acknowledgement of Defendant
    I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all
conditions of release, to appear as directed, and to surrender for service of any sentence imposed. I am aware of the penalties
and sanctions set forth above.




                                                                                                                              Cos! 8,Y - iqlb
                                                                                                                                     Telephone




      /                                          Directions to United States Marshal
K T h e defendant is ORDERED released after processing.
( ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judicial officer that
                                          lied with all other conditions
                                          and place specified, if still in



                                                                                                                   t
                                                                                          SANDRA M. SNYDER; U.S               MAGISTRATE JUDGE
                                                                                               Name and Title of ~ u h i c i a lofficer




                                               ANT           BLUE - US. A r r O R N E V       PINK - US. MARSHAL              GREEN - PRETRlAL SERVICES
